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      Case
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               personallyservedthesummonsontheindividuaat(place) lL.(j.3 R      ,y ,
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         a Iscrvedthe summonson(nametyfadfvfd-p                                                                                  -
          designatedby law to acceptserviceofprx essonbehalfof(nameofoqanizationl


        O Iretumed thesummonsunexecuted because

        O Other(spece):


        M y feesare $                       fortraveland $                        forservices.fora totalof$                  c.00                          -


       1declareunderpenaltyofperjurythatthisinformationistrue.

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